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 Mont. LBF 8. MOTION TO MODIFY STAY; AND NOTICE.
 [Mont. LBR 4001-1(a)]

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 File No.: 55101


                            UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MONTANA

  In re                                )
                                       )   Case No. 20-10066-BPH
  LUCUS PAUL WILLETTE AND              )
  CHEYENNE CHERIEE                     )
  WILLETTE fka CHEYENNE                )
  CHERIEE BROCK                        )
                                       )
                        Debtors.       )

                            MOTION TO MODIFY STAY; AND NOTICE


          The Motion of NewRez LLC d/b/a Shellpoint Mortgage Servicing (“Creditor”)

 respectfully represents:


          1.    The Debtors filed a Petition in this Court under Chapter 7 of the Bankruptcy Code

 on April 28, 2020.

          2.    Creditor is the holder of a secured claim against the Debtors, and pursuant to

 Mont. LBR 4001-1, provides the following information:

                (a) The present balance owing to Creditor, excluding any precomputed interest or
                other unearned charges, is, as of May 20, 2020, as follows:

                 Principal Balance                           $195,848.58
                 Interest                                    $11,425.30

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              Fees                                          $6,410.60
              Funds Owed by Borrower                        $6,825.17
              Funds Owed to Borrower                        $0.00
              Total Payoff Amount                           $220,509.65


             (b) The date upon which the subject debt was incurred was February 28, 2017.

             (c) Creditor holds a security interest or lien upon the following described
             property of the estate:

                    Lot 1 and the North 12 Feet of Lot 2 in Block 2 of Nels Bach's Second
                    Addition to the Townsite of Sidney, Montana, according to the Second
                    Plat thereof on filed in the office of the Clerk and Recorder in Richland
                    County, Montana (the “Property”).

             (d) The nature of Creditor’s security interest, the date upon which the security
             interest was obtained, and the date upon which the security interest was perfected
             are as follows:

                    Creditor is a secured creditor whose claim is secured by the Property, as
                    evidenced by that certain Deed of Trust dated February 28, 2017 (the
                    “Deed of Trust”). The lien created by the Deed of Trust was perfected by
                    recording of the Deed of Trust in the office of Richland County on
                    February 28, 2017. All rights and remedies under the Deed of Trust have
                    been assigned to the Creditor pursuant to an assignment of deed of trust,
                    attached hereto as an Exhibit.

             Creditor has attached to this Motion copies of all security agreements, financing
             statements, titles, and other perfection documents necessary to prove the validity
             of its security interest.

             (e) Creditor has standing to file this motion on the following grounds:

                    Creditor is an entity entitled to enforce the promissory note that the
                    Debtors have executed and delivered or with respect to which the Debtors
                    are otherwise obligated.

             (f) A description of Creditor’s collateral, including its location, is as follows:

                    The Property and all other collateral described in the Deed of Trust, a copy
                    of which is attached.

             (g) The fair market value of Creditor’s collateral is $179,400.00 according to the
             Debtors’ Statements and Schedules.

             (h) A description of, and the amounts due upon, any other security interests are as
             follows:

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                        N/A

                (i) If the Debtors are in default, the number of defaulted installments and the total
                amount in default are, as of May 20, 2020, as follows:

                   Number of
                                                                            Monthly         Total
                   Defaulted
                                         From                  To           Payment       Amount in
                  Installments
                                                                            Amount         Default

                        10         November 1, 2018      August 1, 2019    $1,277.06      $12,770.60
                        9         September 1, 2019      May 1, 2020       $1,299.08      $11,691.72
                                  Less partial payments:                                   ($0.00)
                                                                                 Total: $24,462.32

                In addition to the amounts listed above, Debtors are obligated to make on-going
                monthly payments, pursuant to the express terms of the Note and Deed of Trust
                that have or will accrue after May 20, 2020.

                Creditor attests that it responded promptly and thoroughly to the trustee’s or to the
                Debtors’ reasonable requests for account information.

                (j) If the Creditor alleges a postpetition payment default by the Debtors, the
                amount and date of the payments the Debtors are alleged to have failed to make
                are, as of May 20, 2020, as follows:

                        See paragraph (i) above.

                 Creditor attests that it responded promptly and thoroughly to the trustee’s or to
                the Debtors’ reasonable requests for account information.

                (k) This Motion is made under and pursuant to the following subsection of 11
                U.S.C. §§ 362: (d)(1) & (d)(2).

        3.      Creditor further represents that in the event the Court grants this Motion, Creditor

 will seek foreclosure and liquidation of the above-described collateral in accordance with

 applicable nonbankruptcy law. Upon disposition of such collateral, Creditor will account for all

 proceeds to the Court, and trustee, if applicable, and agrees to turn over any proceeds in excess

 of Creditor’s allowed secured claim to the Court, and trustee, if applicable.




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        4.     Creditor requests that in the event that the Court grants this Motion, that the 14-

 day stay described by Bankruptcy Rule 4001(a)(3) be waived.


        WHEREFORE, Creditor moves the Court to grant this Motion to Modify Stay, and to

 grant such other relief as the Court may deem appropriate.



        DATED this 22nd day of June, 2020.


                                              /s/ Lewis N. Stoddard
                                              Lewis N. Stoddard
                                              Attorney for NewRez LLC d/b/a Shellpoint
                                              Mortgage Servicing




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                       NOTICE OF OPPORTUNITY TO RESPOND
                            AND REQUEST A HEARING

 If you object to the motion, you must file a written responsive pleading and request a
 hearing within fourteen (14) days of the date of the motion. The objecting party shall
 schedule the hearing and shall include in the caption of the responsive pleading in bold and
 conspicuous print the date, time and location of the hearing by inserting in the caption the
 following:

                             NOTICE OF HEARING
                             Date:
                             Time:
                             Location:

         This contested matter shall be scheduled for hearing for the next hearing date
 scheduled in the division within which the case is filed. The date, time and location of the
 hearing can be obtained from the Clerk of Court or from the Court’s website at
 www.mtb.uscourt.gov. In the event such scheduled hearing date is thirty (30) days beyond
 the filing date of the motion for relief, then a preliminary hearing within such thirty (30)
 day period shall be scheduled by the responding party after such party contacts the Clerk
 of Court to confirm the preliminary telephone hearing date and time, which shall be set
 forth in the response.
         If you fail to file a written response to the above Motion to Modify Stay with the
 particularity required by Mont. LBR 4001-1(c), and request a hearing, within fourteen (14)
 days of the date of this Notice, with service on the undersigned and all parties entitled to
 service under all applicable rules, then your failure to respond or to request a hearing will
 be deemed an admission that the motion for relief should be granted without further notice
 or hearing.


        DATED this 22nd     day of June, 2020



                                                      /s/ Lewis N. Stoddard     _____
                                                      Lewis N. Stoddard
                                                      Attorney for NewRez LLC d/b/a Shellpoint
                                                      Mortgage Servicing




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                                  CERTIFICATE OF MAILING

        I, the undersigned, Lewis N. Stoddard, do hereby certify under penalty of perjury that a
 copy of the within and foregoing Motion to Modify Stay and Notice was sent by first class mail
 postage prepaid on the 22nd day of June, 2020, Salt Lake City, Utah, and directed to the
 following:

 Lucus Paul Willette and Cheyenne Cheriee Willette
 2336 3rd St NW
 Sidney , MT 59270
 Debtors
 VIA U.S. MAIL

 Bret T Allred
 Yellowstone Law Group LLC
 117 North Bent Street, Suite B
 Powell, WY 82435
 Debtors’ Attorney
 VIA ECF

 Joseph V. Womack
 303 North Broadway, Suite 805
 Billings, MT 59101
 Chapter 13 Trustee
 VIA ECF


 United States Trustee
 720 Park Blvd, Ste 220
 Boise, ID 83712
 VIA ECF



                                             /s/ Lewis N. Stoddard
                                             Lewis N. Stoddard
                                             Attorney for NewRez LLC d/b/a Shellpoint
                                             Mortgage Servicing




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